
Ewing, C. J.
The statute has authorised two justices to take examinations and make orders of filiation and maintenance. The authority given by the statute must be strictly pursued. The making of the order is a judicial act, and must be executed by the justices jointly, and not separately, as the cases referred to fully proved. Although the justices met, and agreed on the sum, yet it was necessary they should be together and act jointly m every part of the duty assigned them, until they had completely executed their authority, by signing the order. The order before us having been signed by each justice in the absence of the oth™ er is erroneous, and must be quashed. It appears, also, that in the order as signed, and delivered to the overseer of the poor, an error was committed by inserting sixty-seven, instead of sixty™ two and a half cents, which was afterwards corrected. The justices think it likely they were together when this correction was made. This circumstance does not alter the law, but rather proves the wisdom of the rule requiring a joint execution of the authority, for if the justices had been together at the time the order was signed, this mistake in all probability would not have been made=
Let the order be' quashed.
